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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )           Case No. 8:06CR119
                                          )
                     Plaintiff,           )
                                          )
       v.                                 )                  ORDER
                                          )
LEONEL GARCIA-PADILLA,                    )
                                          )
                     Defendant.           )


       IT IS ORDERED that a hearing regarding the attached fax, received today by the court,

is scheduled before the undersigned in Courtroom No. 3, Roman L. Hruska U.S. Courthouse,

111 South 18th Plaza, Omaha, Nebraska, on May 14, 2007, at 2:30 p.m. Since this is a

criminal case, the defendant shall be present, unless excused by the court. If an interpreter

is required, one must be requested by the plaintiff in writing five (5) days in advance of the

scheduled hearing.

       DATED this 9th day of May, 2007.

                                          BY THE COURT:


                                           s/ Joseph F. Bataillon
                                          JOSEPH F. BATAILLON
                                          United States District Judge
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